Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.108 Page 1 of 19

 

April Whitfield

C: 702-454-0858
aprilwnitfield@gmail.com

2ist of July 2020

To: Whom it may concern

My name is April Whitfield and | have known Dr. Bruce Baker and his family for 19
years, professionally and personally.

| met Dr. Baker in July of 2001 when | graduated from Dental Assisting School in San
Diego, California. | was highly recommended by our school Principal to apply at Dr.
Baker’s Pediatric office and he and | met for the first time during my Job interview. Dr.
Baker took a chance on me, then a freshly graduated Dental Assistant without prior
professional experience in the field apart from school training, a mother of two
toddiers who was mourning the death of her husband and was starting fresh in life.
He saw potential in me, trusted his instincts and hired me. He showed me cuties that
went beyond what a classroom can teach. | progressed in my profession but he did
not halt the training once he saw me improve in one part of the dental field. He had
me learn all aspects of a dental practice and the different duties that each entails.
Unbeknownst te me at that time, Dr. Baker was preparing me to become a
strong-all-around-Denta! Assistant and Office Manager. It was very unknown to me
just how strong. He was with me every step of the way, when things got tough, he
was there encouraging and giving moral support, telling me to trust in myself, willing
me to see what he sees in me. His practice has become my launching pad in my
current profession. | now reside in Nevada and when | moved here, | did not have
hard time securing a job due to the experience that | have practiced at Dr. Baker's. |
had amazing skill sets and experience under my belt. | was offered jobs at each
dental practice that | interviewed with and once they saw my skills during my working
interviews, | was strongly sought after by each of them. A significant part of my
success is attributed to Dr. Baker’s unyielding belief in me. | have stayed with Dr.
Baker and his practice for ten years. Dr. Baker has not only been a boss to me but has
become a father to me and | consider myself a part of his family. In personal
challenging times, Dr. Baker has been there by my side to lift, help and support me.
He had wise advice that he shared with me that has significantly assisted me to get
through hard times. Up to now, Dr. Baker is one of the people | go to when | feel lost
or if} feel uncertain. His words and wisdom are one of the few | seek before | execute
a major decision.

| feel very fortunate that Dr. Baker has taken a chance on me all those years ago
because | refuse to imagine what the alternative would have been if he had not taken

that chance.

 
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.109 Page 2 of 19

To Whom It May Concern,

I am honored to provide character reference for Dr. Bruce
Baker. I have known Dr. Baker for thirteen years after 1 was
hired in 2007 for a dental assisting position. I have always held
Dr. Baker in the highest regard. He inspired and guided me to
further my dental career and eventually pushed me to attend
dental hygiene school. Dr. Bruce Baker has always shown
professionalism throughout the time that I have known him. Dr.
Baker has been a loyal employer to me as well as a mentor
throughout the last thirteen years. He has an ideal blend of
efficiency and compassion when it comes to his work that I truly
admire. Any employee and/or patient should feel secure with his
knowledge and expertise as a dentist, as they are in the best
hands.

Thank You, Brooke Milholland, RDH 29567

(951) 306-8771
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.110 Page 3 of 19

June 19%, 2020

To whom it may concern,

My name is Lisa Robles | have worked alongside Dr. Bruce
Baker for 8 strong years, and he has always been the type of
man to teach and to guide. He is someone you can approach
with any questions or concerns and gives you an honest and
sincere answer. He comes to the office every morning with a
smile on his face and a positive outlook. Dr. Baker is a genuine
trustworthy person with the best intentions for everyone
around him, very caring. Overall, | consider Dr. Baker to be a
smart motivated man and anyone that can learn from his
knowledge would be extremely fortunate. If you have any
further questions my number is 951-765-7488 and my address
is 1008 Burton St Hemet, Ca 92545, please don’t hesitate to
reach out if needed.

-Lisa Robles
. Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.111 Page 4 of 19

07/29/2020

TO WHOM IT MAY CONCERN:

| have worked for Dr. Bruce Baker for 5 years out of my 15yr of dental experience. | only have wonderful things to
say about him. He is the most inspiring Dentist that | have ever worked for. His inspiration is so contagious that it
spreads to his patients and employees. His patients love him. He is so patient and also the most caring dentist |
have ever worked for. He truly cares for his patients. I’ve never worked with such a great person who takes the
health of his patients over the mighty collar.

| have done front office for him and billing insurance companies for the past 5 years. He is always willing to help
the patient financially. The patient’s parents also iove Dr. Baker. Patients that have come in as a child and grow up
continue to stay. Instead of going to an adult dentist, they continue to show that they truly love being here. Dr.
Baker has a mind that anything you set your mind to you can accomplish. He is also very professional and
passionate about his career.

He is a very hard worker always checking on his patients. Even during this crisis when we were closed. He kept
calling the office to see if any patients needed him to come in. He checked frequently on his staff and patients to
make sure they were okay. This crisis the COVID-19 really shows you peoples true colors. We all saw his love for
his patients. | feel that he is such a great dentist | even brought him in my grandson. My grandson Isaac also felt
the same way. He didn’t question how | was going to pay or what insurance | had. He told me not to worry about
it. He is truly a wonderfui person inside and out. Couldn’t imagine working for anyone else.

Please feel free to contact me at (714) 398-7917for any further questions.

Sincerely,

Adv son
We o

ietirenee Bill
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.112 Page 5 of 19

August 1, 2020

The Hon. Judge Cynthia Ann Bashant
USS. District Court

Southern District of California

221 W. Broadway

San Diego, CA 92101

RE: Dr. Bruce Baker

Your Honor,

My name is Dr. Tony Hashemian. I am the former Associate Dean for Global Oral Health
and assistant professor at A.T. Still University (ATSU), Arizona School of Dentistry &
Oral Health (ASDOH). Dr. Baker has been a close friend of mine for some time now.
Over the years that I have known him, he has been a community-minded individual who
regularly puts the needs of others before his own. He has always been an upright
character in the community and our friendship.

I was particularly dismayed to hear of Dr. Baker’s transgression. I have spoken to him in
regards to the events in question. I can honestly say that he is truly disappointed with
himself and that all this is a source of intense regret and embarrassment for him. I would
especially like to point out that greediness is not a part of his nature. Quite the contrary,
his actions in the past have convinced me that he is a selfless and generous man. He has
never been before the courts previously and, I believe, he will never be before them
again. Most importantly, this is an incident he would like to learn from, take full
responsibility for and move forward with his life.
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.113 Page 6 of 19

I wish him the best in the endeavor so he may continue the positive contribution that he
makes to our society.

Sincerely,

TH pel

Dr. Tony Hashemian
Scottsdale, Arizona

(602) 743-7758
e 7 of 19

LN COr ME. Raker and Mis. baker . e

IM realty thankful For the

SIFE YOUSave Me and My
sister T aig aPPreaate
Vou Suv hein theve FOr

1 Filed 05/28/21 PagelD.114 Pag

5219983

YMY GiSteK mower

 

and L Ore Very stthhankFul ,
(0d Bless you 9vys and

(VE HOPE You Joys Always
have cvork Ww your Denia)
Q PF iC? Smncerely

Keay OV CAN

  

Case 3:20-cr-01912-BAS Document 30

A Vou Comoro ~
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.115 Page 8 of 19

 

 

 

Dr Ball and Strepjio,

4 : a 8 fh a ie ng 4% {2h 4
J bas i K Ute 30 Pere, meCil fice

a eng Aucn gereeblrirwe chee

 

J
ett CULL uw day! i fet fer ane

“& Ki fo wont’ to Nese AUCH a

Toe waa Als @ 3 Ps j wf AL | 2 :
GAL nndews G Lowj9 é cf peep

{
a i. a teats cif ji
mig tm we "7 . ud bids th ¢ pets 7 Cl LUS veunrg!

Ff, ark h

Pe pice l . be

ue Y Ke a & t m
u vi rw)

 

dl Ch Uf Wy,

j \ evi VL KC

ay
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.116 Page 9 of 19

Cy }
SCC

International Society for
Children with Cancer

July 25, 2012

Mr. Bruce Baker, D.M.D.
13422 Pomerado Rd, Ste 201
Poway, CA 92064

Dear Mr. Baker:

\
It is a special person who gives from the heart so that others can find new life and hope
when they think all the doors are closed to them. And you are such a person!

Thank you for your kind and generous donation of $1,500.00 to International Society for
Children with Cancer (ISCC) in memary of Mr. Abdolreza Eizadi which we received
on July 25, 2012. Your generosity will make an immediate difference in the lives of
cancer stricken children.

As you are aware, many children lose the battle against the disease because of poverty
and financial problems. We believe that no child with cancer should lose their life to the
disease of poverty, thank you for taking part in our belief. For one thing, your generosity
helps us cover the costs of treatments that are not covered by insurance for a child
diagnosed with cancer.

You can read about the lives that are being saved — and your important part in it — at
www.iscc-charity.org.

Once again, thank you for making a difference.

 

Susan Shahidi
Director of Public Relations

Federal Tax ID # XX-XXXXXXX Contribution: $1,500.00

This letter serves as the receipt you will need for tax purposes. ISCC is an IRS-recognized 501(c)3
nonprofit charitable organization. Please consult with your tax advisor on the amount you may deduct for
tax purposes. No goods or services were provided in exchange for your generous donation.

EXHIBIT

16808 Armstrong Ave., Ste. 170 ¢ Irvine, CA 92 ax (949)679-3399 ® www.iscc-charity.org

tabbies’
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.117 Page 10 of 19

Ms. Marvam Esianu: Rezaet

 

June 28, 2020

Subd: Letter of Good Character for Dr. Brice 6B. Baker

Dear Sir / Madam (To Whom It May Concern).

  
 
  
  

  

Td

 

haracter is fecal on aie length of ume that i have known him as w ell as one
of if his past actions that | witnessed mvself.

of an apartment building here in Los
artner purchased the building, their plan

onh ¥ Meo tenants

eer Ge GO aeear iL

      

$ to facilitate the end of their leases. | irs m agreed to end }
lease for a cash payment in accordance with the relevant California law. Th
1ant was also willing to leave for a cash payment. t

felt that she sho be pad. As

 

Baker to pay her the original compremise amount o7 $35 000, 00 that had

been offered (please bear in a mem that af this Lass a judge wad id just ruled that

she was lesally entitled to if he
000.

ra free De shone pg be
0.00 for her dauchte

 

 
     
    

‘
appy to help someone else ac chieve

 

 

 
sepiie nemeremetan c=

Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.118

to

 

(Maryam Eslami Rezaei)

 

Page 11 of 19
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.119 Page 12 of 19

UC San Tego

Moores CANCER CENTER

Date: 7/28/20

RE: Dr. Bruce Bakhshi Baker
PO Box 669
Poway, CA 92074
DOR: 3/10/1946

To Whom I: May Concern:

Dr. Bruce Baker has been a patient of mine since 2008, followed at the UCSD Moores Cancer
Center for a diagnosis of T-cell large granular lymphocytic (LGL) leukemia.

He was evaluated by me today. He remains immunocompromised and neutropenic with an
absolute neutrophil count of 0.8 1000/mm3. He is at increased risk of complications frora
infection and should avoid possible exposure.

Plezse contact me if additional information is needed.

Sincerely,
i
Ay wt |
“4 } j A)
f Lf “ ty Art *

Thomas |. Kipps, MD
Distinguished Professor of Medicine
Director, Center for Novel Therapeutics
UC San Diego Moores Cancer Center
9310 Athena Circle

La Jolla, CA 92037

(858) 534-5400

C

2855 Health Sciences Dr. #0698 — La Jolla, 858) 822-5354 FAX: (858) $22-5380

 

 
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.120 Page 13 of 19

To,

The Hon. Judge Cynthia Ann Bashant
U.S. District Court

Southern District of California

221 W. Broadway

San Diego, CA 92101

Sub: Statement of Apology & Humble Petition

Dear Hon. Judge Bashant,

My name is Bruce B. Baker. I am a pediatric dentist who is
74 years old and a resident of San Diego.

| wish to express directly to you how very sorry I am for
the crimes that I have plead guilty to. Many years ago I
placed my trust in Rabbi Yisroel Goldstein, a man I first
met in 1984 when I first moved to San Diego with my
young family.

As an Iranian Jew in the North County of San Diego in
1984. | was a minority within a minority. In a strange new
city where I was an outsider, Rabbi Goldstein became not
only my Rabbi and spiritual advisor, but also my friend. In
the country where I was born and raised (Iran) being a Jew
was not something to be open about, or proud of, and |
experienced a lot of discrimination growing up. Rabbi
Goldstein taught me that in the United States one could be
proud and open to be a Jew. From a spiritual perspective |
cannot sit here today and deny the fact that Rabbi Goldstein
was one of the most important people in my life and eve
with everything that has now happened, | still am gt
for his role in turning me back towards Judaism.

  
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.121 Page 14 of 19

Please understand that I am not trying to make excuses for
myself or my actions. I broke the law freely and with full
knowledge. What I am trying to say is that because Rabbi
Goldstein was involved I was able, due to his involvement

and the regard I held for him, justify my illegal actions to
myself.

[ am now in the twilight of my life. ] am 74 years old and
have CLL (a type of Leukemia). I have destroyed the
reputation I built after 35 years of working in San Diego
and Riverside, serving the community as a dentist, and
helping children and families. Over the years I engaged in
all manner of charity work (as a dentist) in and around the
United States and abroad (the Dominican Republic). In my
own everyday practice I would often treat my patients
(children) for free or accept whatever sort of limited
payment their parents could afford. Perhaps with enough
time I could gain some of this reputation back, but as a 74
year old man with Leukemia I, unfortunately, do not have
that kind of time. This is what hurts me the most, the fact
that I do not have enough time to try and regain some of the

reputation that my stupid and illegal actions have
destroyed.
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.122 Page 15 of 19

Judge Bashant, I wish to humbly petition you to allow me
(if you feel that it is warranted) to serve some or any part of
my sentence / punishment through volunteer work as a
dentist (i.e. treating patients for no charge). As | stated
above, due to my age and medical condition, I do not know
how much time I have left on this earth to try and make up
for my illegal actions, but I would so grateful for a chance
to try. Before my guilty plea and this unfortunate series of
events brought on by my own stupidity and illegal actions,
[| was in the process of joining the U.C. San Diego student-
run free dental clinic in Lemon Grove. The opportunity to
give back to my community through to treating low-income
patients for free at the U.C. San Diego Clinic would be one
that I would be most grateful for.

Thank you for this opportunity to address you Judge
Bashant.

Sincerely,

(Bruce Baker)
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.123 Page 16 of 19

Dear Honorable Judge,

My name is Edmond and I'ma cousin of Dr. Bruce Baker. | understand that Dr. Baker is going through a difficult
period involving a legal matter and, therefore, | wanted to take this time and share with you what | have discovered
about Dr. Baker.

ye known Dr. Baker for more than 40 years. In the past 14-16 years, we've become very close. Outside of his
immediate family (wife and 2 children), | would say that | probably know him better than anyone else! Why? Well,
for one reason, one of the masters | received involves observing and assessing people, circumstances, and so
forth and, thus, I’ve derived lots of intelligence on who Dr. Baker truly is and what he is about.

I'd like to share with you who Dr. Baker really is and the impact he nas made on other people's lives.
Here are some examples for your consideration:

Case-in-point #1: In early 2017, my oldest brother (David) was diagnosed with pancreatic cancer (at the age of
59). David had a unique and unfortunate circumstance in that (after being married for more than 35 years), his
wife had a breakdown and left him (with David having 6 months to live — according to the doctors). David’s wife
never took him to any chemotherapy, radiation appointments, doctor appointments...and she essentially moved
out. Throughout David's battle with Pancreatic Cancer and his family dramatstress, Dr. Baker was among the few
who stood behind David and supported him unconditionally (emotionally, spiritually, financially). Dr. Baker would
regularly drive down to LA from San Diego (and take time away from his own family) to spend time with David, take
him out, eat meals with him, give him his medications, give him hope, give him the strength to persevere, enable
peace for him, put food on this table, put a smile on his face by telling jokes and stories, and more.

Dr. Baker did not have to do any of this, but he did because deep down, he is a philanthropist who gets great joy by
helping others. As a result of Dr. Baker’s kindness and good heart, David lived for 14 months instead of the 6
months that the doctors gave him. At the end, the Cancer won but David left with some degree of joy, happiness,
and peace - thanks to a strong support group which included Dr. Baker! If it wasn’t for Dr. Baker's acts of kindness
and good heart, | promise you that David would of passed away much sooner. May he Rest-in-Peace.

Case-in-point #2: From early 2017 to July/2019, | not only lost my brother in early 2017, but also lost my father and
mother on June 6, 2019 and July 7, 2019, respectively. This two-year span was the most difficult period of my life
(.e.: David’s circumstance, a significant stroke that caused my mother to lose the right side of her body and not be
able to speak, my father being diagnosed with Leukemia, etc. With all this going on (plus other pressures and
stress in my life), there was only one person (besides my sister) in my life that supported me unconditionally — Dr.
Baker! Dr. Baker would call me nearly every day to mentor me, would drive to LA to support me emotionally and
spiritually, would invite me to San Diego to spend time with him and his family, and so forth. But, perhaps, what I’m
most grateful in having Dr. Baker in my life for is all the mentoring and advise he has shared with me to help me
become even a better person! — examples: more giving, caring for others, giving to others is better than receiving
from others, etc.

In closing Judge, | looked up to my dad like | looked up to no one else. My dad was a righteous man and an
outstanding father! | would like to let you know Judge something very personal: Dr. Baker has become not only my
brother but now like my father. It brings tears to my eyes sharing this with you because | can’t tell you how much
he has meant to me and how positive and impactful he has been. For example, when others did me wrong, Dr.
Baker mentored me and gave me the wisdom and strength to stay above other's wrongdoing and let it go and to
move forward.

Dear Honorable Judge —| hope I’ve done a reasonable job of providing you with an idea of how much Dr. Baker
means to those around him and the community he is involved with. | consider Dr. Baker as my brother and like a
father, and, to be honest, (besides my sister and brother) he is the only other person that | would take a bullet
for. He is kind, caring, compassionate, and giving peyond limits.

Thank you for your time and consideration Judge.
Sincerely,

CE

Edmond Banayan
EXHIBIT

tabbies
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.124 Page 17 of 19

 

 

 

BRUCE SAHBA, MD, FACG
Diplomate American Board of Internal Medicine & Gastroenterology
8528 Ruette Monte Carlo
La Jolla, CA 92037 Email: bsahba@aol.com, 858-568-2000
7/5/2020

To whom it may concerned,

| am deeply honored to write this letter about Dr. Bruce Baker, formerly known as Behrooz Bakhshi. |
have known and been associated with Dr. Baker for over 30 years. He has been by far more than a
casual friend to me, since we have had numerous financial and family interactions in the past 30 years. |
attest with no hesitation that | consider Dr. Bruce Baker a trustworthy, noble and caring person that |
have ever known. | have no doubt that whoever has had any interaction with him has the same opinion
as mine. He is known to be a great benefactor in our community.

For more information about this fine gentleman, | may be contacted at 858-568-2000 or email:
bsahba@aol.com.

rn
f 5

‘ 2 a / i a

SDM GA I>
Bruce Sires ace °
Case 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.125 Page 18 of 19

To whom it may concern:

|am honored to write a reference letter for my friend Dr. Baker whom | have
known for the past 25 years. | have written several letters of recommendation for
my fellow science and engineering colleagues nonetheless, in the 30 plus years of
professional activities, there is no other person whom | feel demonstrates an
abundance of positive qualities professionally and personally. Not only has Dr.
Baker been a dentist for my children, he is also one of my dearest friends.

As a friend, Dr. Baker is a standout. He is loyal, considerate, and has always
demonstrated the uncanny ability to truly understand things from the other
person’s perspective. Dr. Baker is a true motivator as he does the extra mile to
bring the best out of his friends. Furthermore, Dr. Baker’s warm personality and
sense of humor make him a complete joy to be around.

Above all, what | admire the most in Dr. Baker is that he is a good human being.
Dr. Baker ‘s charitable and motivational nature is not solely reserved for friends
and family, but to complete strangers as well. Dr. Baker lives up to this mantra
everyday by being a loving father and husband.

It is for these reasons above that | give Dr. Baker my personal recommendation.
Should there be a need, please contact me via email or call at 619-892-2800 for
additional information.

Sincerely.

é
tne
c.-

p Yaghmaee
Cc :20-Cr-
ase 3:20-cr-01912-BAS Document 30-1 Filed 05/28/21 PagelD.126 Page 19 of 19

August 7, 2020

The Honorable Judge Cynthia Ann Bashant

U.S. District Court

Southern District of California
221 West Broadway

San Diego, CA 92101

RE: Dr. Bruce Baker

Dear Judge Bashant:

I recently became aware of the situation that Dr. Baker has placed himself in. I have
known him and his family for over 4 decade and found them to be honorable, respectable

and community minded.

[ have been a public health leader in a variety of settings from being Director of the
Arizona Department of Health Services, an Area Health Office for Los Angeles County
and starting the first dental school in Arizona twenty years ago. I served as the Inaugural
Dean for fifteen years and it was in that capacity that I first met Dr. Baker. I found him to
be a man of integrity, committed to his community and generous in his efforts to help

others.

I believe that he has acknowledged his bad behavior and is committed to making it right.
L also believe that in his core he is a man of honor and has leamed from his error and will

make it right!

Additionally, I want you to know that | am a public member of the Arizona State
Supreme Court, Attorney, Discipline, Probable Cause Committee and have learned about

some good people doing bad things and correcting for it.

Thank you for your consideration.

 

602-751-5225

 
